Case 23-34815 Document 892-11 Filed in TXSB on 12/10/24 Page 1 of 44




                         EXHIBIT 11
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page22of
                                                           of44
                                                              44



                        UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF TEXAS

                              HOUSTON DIVISION

    MOKARAM-LATIF WEST LOOP LTD.  .        CASE NO. 4:24-CV-3224
                                  .
                   PLAINTIFF,     .
                                  .        HOUSTON, TEXAS
            V.                    .        WEDNESDAY, NOVEMBER 13, 2024
                                  .        03:08 P.M. TO 03:58 P.M.
    ALI CHOUDHRI,                 .
                   DEFENDANT.     .
    . . . . . . . . . . . . . . . .


                               MOTION HEARING

                     BEFORE THE HONORABLE MARVIN ISGUR
                      UNITED STATES BANKRUPTCY JUDGE


         APPEARANCES:                      SEE NEXT PAGE

         ELECTRONIC RECORDING OFFICER: NOT IDENTIFIED

         CASE MANAGER:                     LINH THU DO

         OFFICIAL INTERPETER:              NONE PRESENT




                         TRANSCRIPTION SERVICE BY:

                      TRINITY TRANSCRIPTION SERVICES
                             1081 Main Street
                         Surgoinsville, TN 37873
                               281-782-0802
                            battshott@aol.com



    Proceedings recorded by electronic sound recording;
    Transcript produced by transcription service.

                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page33of
                                                           of44
                                                              44



                       UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF TEXAS

                              HOUSTON DIVISION


    MOKARAM-LATIF WEST LOOP LTD.  .        CASE NO. 4:24-CV-3224
                                  .        CASE NO. 4:24-CV-3225
                   PLAINTIFF,     .
                                  .        HOUSTON, TEXAS
            V.                    .        WEDNESDAY, NOVEMBER 13, 2024
                                  .        03:08 P.M. TO 03:58 P.M.
    ALI CHOUDHRI,                 .
                   DEFENDANT.     .
    . . . . . . . . . . . . . . . .


                               MOTION HEARING

                     BEFORE THE HONORABLE MARVIN ISGUR
                      UNITED STATES BANKRUPTCY JUDGE

    Appearances:

    For the PLAINTIFF:               MOKARAM-LATIF
                                     Pro Se

    For the DEFENDANT:               D. SCOTT FUNK, ESQ.
                                     Gray Reed
                                     1300 Post Oak Boulevard, Ste 2000
                                     Houston, TX 77056

    For the DEFENDANT:               LONDON ENGLAND, ESQ.
                                     Gray Reed
                                     1601 Elm Street, Suite 4000
                                     Dallas, TX 75201

    For OSAMA ABDUL LATIF:           T. MICHAEL BALLASES, ESQ.
                                     HooverSlovacek LLP
                                     Galleria Tower II
                                     5051 Westheimer, Suite 1200
                                     Houston, TX 77056

    Transcription Service:           Cheryl L. Battaglia
                                     Trinity Transcription Services
                                     1081 Main Street
                                     Surgoinsville, TN 37873
                                     281-782-0802
                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page44of
                                                           of44
                                                              44
                                                                       1


1       Houston, Texas; Wednesday, November 13, 2024; 03:08 p.m.

2               THE COURT:   All right.   Good afternoon.

3               First, let me apologize to everyone for being late

4    today.    I was in a judge’s meeting and unable to exit that

5    meeting until just now.

6               The case that we’re calling is 24-3224, which is

7    Mokaram-Latif West Loop Limited versus Ali Choudri.        And then

8    24-3225, which has the same basic style.

9               Calling both cases if you wish to appear on the

10   phone, you’ll need to press five, star.     If you wish to appear

11   in court, please come forward to the podium and make your

12   appearance.

13       (Pause in the proceeding.)

14              MR. FUNK:    Good afternoon, your Honor.    Scott Funk

15   and London England with Gray Reed on behalf of Ali Mokaram.

16              THE COURT:   Thank you, Mr. Funk.

17       (Pause in the proceeding.)

18              MR. BALLASES:   Michael Ballasses on behalf of Osama

19   Abdullatif.

20              THE COURT:   Thank you, Mr. Ballasses.

21       (Pause in the proceeding.)

22              MR. CHOUDHRI:   If I may, your Honor.      My lawyer’s not

23   here.    I believe he may have been hospitalized.     I’ve been

24   calling him.    He’s not answering his phone.

25              I know he had a medical appointment for a post-
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page55of
                                                           of44
                                                              44
                                                                          2


1    operation.    And Miss Ash (phonetic), who’s here, went to his

2    house as well.    And he’s not —— he’s not home.        And I ——

3              THE COURT:     All right.

4              MR. CHOUDHRI:     —— understand that there’s a motion

5    for a continuance that was filed by him.

6              THE COURT:     I —— I granted the motion what he filed.

7              Let me see who else is making an appearance.         Do we

8    have anyone on the phone making an appearance?

9        (No response.)

10             THE COURT:     All right.

11       (Pause in the proceeding.)

12             THE COURT:     So the fact that he had a doctor’s

13   appointment, he also had a birthday party is what he told me.

14   Doesn’t mean he’s in the hospital if he’s not here.

15             MR. CHOUDHRI:     Well ——

16             THE COURT:     Do we know why he’s not here?

17             MR. CHOUDHRI:     I —— I have no idea, your Honor.

18   I’ve —— Miss Ash who’s here, and she knows him.          And she’s

19   worked with him.    She’s been to his house today and he’s not

20   answering the phone call.

21             He was in the hospital for —— for a surgery before he

22   had a fall.   I believe that’s what it was.         And —— and he had

23   filed a motion.    And I believe your Honor did grant it from 11

24   a.m. to 3 p.m.

25             THE COURT:     Right.   He said he had a follow-up
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page66of
                                                           of44
                                                              44
                                                                      3


1    doctor’s appointment this morning and a birthday party this

2    morning.

3               MR. CHOUDHRI:    Yeah.   I saw that.

4               THE COURT:    So —— and I granted that motion.

5               Let me hear from the —— the movants here.

6          (Pause in the proceeding.)

7               MR. FUNK:    I think, your Honor, to say that we’re

8    suspicious about the circumstance would be an understatement

9    after having 23 of these similar last minute things like this

10   for 12 years now.      So we’re opposed to any further

11   continuances.   It’s been two days, two weeks, two months, and

12   here we are 12 years later still litigating.      So just it adds

13   up.

14              Each time it costs a great deal of money and great

15   deal of time for people to come down.      We’ve had, I think, 20

16   of these this year alone.

17              So we’re —— we’re opposed.

18              THE COURT:    What’s the emergency?

19              MR. FUNK:    Your Honor, I can’t represent to you

20   that’s something that’s going to happen next week, but I can’t

21   tell you now that it’s not happened.

22              I will show you this.    It’s circumstantial evidence

23   of —— from the —— in the State Court proceeding, Mr. Choudhri

24   has represented to the Court through his network out there and

25   through experts what his assets are.
                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page77of
                                                           of44
                                                              44
                                                                       4


1              A great deal of them are missing.       And we can present

2    that to you.   There’s been sale proceeds in the last few years

3    of almost $40 million that can’t be accounted for.       We can

4    present to you net worth statements that he has given to

5    lenders in the hundreds of millions of dollars, positive net

6    worth where he had a claim today, no explanation of where the

7    assets went or why there’s a penalty.

8              We can show you bank statements where he his mother

9    share bank statements where millions of dollars are transferred

10   and floated.

11             We have, because of the procedural status of the

12   State Court case, as you see from the papers, these are both

13   removals, post-judgment, actually on the morning of the hearing

14   where we’re asking Judge Wilson to appoint a receiver for

15   collection with a net worth, negative net worth, affidavits

16   were filed.

17             We have —— and at that point, under State law, the

18   collection efforts get suspended.     So our view towards his

19   current assets, transfer of assets, the status of those assets

20   is somewhat blocked.   We have some documents we can present to

21   your Honor showing these millions of dollars in missing assets

22   that haven’t been reported in State Court.        And we’d just ask

23   your Honor to consider, well, let me back up, Judge, if you

24   will indulge me just a little.    Because this is fairly

25   complicated long history.
                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page88of
                                                           of44
                                                              44
                                                                         5


1              But, I don’t want to go into too much detail with

2    you.   But I can show you and present to you evidence showing

3    you the extraordinary bad faith in which these net worth

4    affidavits were filed, including these net worth affidavits and

5    missing documents and the like, and how that suspends the State

6    Court efforts.

7              I can show you that pattern of the delay of this

8    hearing that’s supposed to be heard promptly in State Court.

9    We’re 11 months forward after January still trying to get it

10   heard with another month of removal.

11             And I would ask your Honor to consider why.         Why

12   would a man do that?   He’s trying to prevent collection.       And

13   this history of transferring assets, stealing assets, the

14   underlying judgment in my client’s case is a fraud judgment

15   from stealing assets from the commonly-owned company.

16             With this pattern and this history, and these lies to

17   the Court, with these assets have been transferred into monies,

18   I ask why are these constant delays?     What else is happening?

19             Your Honor, in the Bankruptcy Court in the Western

20   District of Texas for Texas REIT, that’s one of the companies

21   that Mr. Choudhri owns part of.    It’s the company that my

22   client owns a part of that was the underlying cause of this

23   litigation.

24             There’s two major properties that are subject to that

25   bankruptcy, at what used to be a Walgreens in a strip center on
                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 Filedin
                                   inTXSB
                                     TXSBon
                                          on12/04/24
                                            11/20/24
                                            12/10/24 Page
                                                     Page99of
                                                           of44
                                                              44
                                                                       6


1    Westheimer.   They’re contiguous properties.      And Judge Robinson

2    (phonetic) has approved the sale of both of those properties.

3    Their sales were eminent.

4              The value, there’s two valuations.       There’s value of

5    one, the other’s value two.    Value one ——

6              THE COURT:   Okay.   I want to back up.    What’s the

7    emergency?

8              MR. FUNK:    Well if those properties are sold, the

9    full proceeds are 15 ——

10             THE COURT:   What’s the emergency?

11             MR. FUNK:    Okay.   And, your Honor, I can’t —— I can’t

12   represent to you any more than I can go through and tell you

13   the fear that these —— another $15 million, these others assets

14   that are missing, the cash that’s missing that tomorrow or next

15   week this could happen.

16             But the Dalio (phonetic) is the one that’s the most

17   eminent, your Honor.    With Dalio I, which is a judgment that it

18   has a —— has a lien.   It’s the mortgage lender, the secured

19   interest on the properties for Texas REIT.

20             I mean, it’s —— the net of those $15 million

21   proceeds, we’re still stuck without being able to collect,

22   without being able to go forward without having this hearing.

23   We can’t protect ourselves properly until we can get this

24   hearing in State Court.

25             Again, that money could be transferred, lost, and
                      TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page10
                                                            10of
                                                               of44
                                                                  44
                                                                         7


1    gone.   And it’s the very purpose for which these delay tactics

2    occurred, to buy time to move, buy, and transfer assets.          It

3    allows more time.      It could happen next week.     And, Judge, can

4    I tell it will or that it is.

5               THE COURT:    Yeah.

6               MR. FUNK:    Don’t know for sure.     But partly no ——

7    through no fault of our own, this lot with some access at this

8    point, given the procedural posture.

9               THE COURT:    Okay.   Mr. Ballasses, what’s the

10   emergency?

11              MR. BALLASES:     Sure.   So I think the emergency is

12   that this hearing, and I’m new to this case.         But this hearing

13   has been on tap for 11 months.

14              And at the eve, or on the day of, the hearing every

15   time there’s something that’s —— that happens.         There’s ——

16   Mr. Choudhri is sick, or his lawyer is sick, or he removes the

17   case to Federal Court, which he —— he’s done in this case and

18   was actually remanded down.

19              And then on the eve of the hearing we’re supposed to

20   have last week or the week before, he removed it again.           And

21   despite the fact that he had already done that and it had been

22   sent back.

23              And so, I think the emergency is two-fold.         One, that

24   he’s somehow managed to delay this for 11 months.          Two, he’s

25   already tried to remove it to Federal Court and had it
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page11
                                                            11of
                                                               of44
                                                                  44
                                                                         8


1    remanded.

2                And I think three, the —— the —— the reason he’s

3    delaying it, is because, again, he wants to engage in more

4    fraudulent transfers incurring collection of judgments.

5                And so, you know, I —— I think that is the basis for

6    the emergency.     And I think, you know, ultimately what we’d

7    request is that the Court just remands it back down to Judge

8    Wilson and let Judge Wilson handle this business with

9    Mr. Choudhri.

10               Thank you, Judge.

11               THE COURT:      Okay.   Thank you.

12               MR. FUNK:    Your Honor, can I add one more thing,

13   please?

14               THE COURT:      Yes, sir.

15        (Pause in the proceeding.)

16               MR. FUNK:    The delay tactics were so extreme in State

17   Court, Judge Wilson entered a detailed order about if and when

18   we wanted a another continuance, he had to do it.          And he

19   violated that order, yet again.         And the Judge sanctioned him.

20   And he sanctioned him monetary sanctions, $11,000 had to be

21   paid.     They were paid.

22               That hasn’t deterred him from filing yet another

23   wrongful removal notice in this case.        And —— and I suggest

24   here, your Honor, what he wants is time, the monetary

25   sanctions, the other part in it, what he needs and wants his
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page12
                                                            12of
                                                               of44
                                                                  44
                                                                         9


1    time.

2               THE COURT:    I’m not here on the ——

3               MR. FUNK:    And if your Honor doesn’t address this ——

4               THE COURT:    I’m not here on the sanctions.       I’m not

5    here on sanctions.

6               MR. FUNK:    Well ——

7               THE COURT:    I’m here on whether to remand the case.

8               MR. FUNK:    I —— I —— I understand.      But what I’m

9    getting to is, if —— if he’s allowed to engage in these delay

10   tactics and have that time, he’s going to continue doing this.

11              If you —— if you don’t address it on an emergency

12   basis, he gets what he wants.      And it rewards the bad conduct,

13   the bad faith removals, the time that he wants and needs versus

14   all the other things that are out there.

15              So I’d just pleaded to your Honor to consider that in

16   the big picture that it’s just not appropriate to allow someone

17   to keep doing this.     And he has no good faith basis whatsoever

18   for removal.

19              THE COURT:    Okay.    Thank you.

20              Mr. Choudhri, where’s the net worth information that

21   we required to be produced today?

22              MR. CHOUDHRI:     Well, your Honor, the net worth ——

23   may —— may I respond to?

24              THE COURT:    I want to know where —— I required at

25   this hearing that you prove the validity of your net worth
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page13
                                                            13of
                                                               of44
                                                                  44
                                                                         10


1    affidavit, right?     So where is that?

2               MR. CHOUDHRI:     I have the thousands of pages of back-

3    up in documents, your Honor, about my net worth.          And I filed

4    an affidavit to supersede the judgment.        And your Honor has ——

5               THE COURT:    And I ask where’s the back-up?       Do you

6    have the back-up here?

7               MR. CHOUDHRI:     I have it in my computer that I

8    have ——

9               THE COURT:    And what —— what —— well, I required it

10   to be produced here.     If it’s in your computer, I’m not sure

11   what that means.

12              What back-up do you have to back-up your net worth

13   affidavit?

14              MR. CHOUDHRI:     Your Honor, I have a lot of documents.

15   I can put Mr. Osama Abdul’s here on the stand.         If I may just

16   respond to the —— their —— their comments, your Honor.

17              THE COURT:    You may in a minute.

18              Right now I want to know where —— whether you

19   complied with the order.

20              MR. CHOUDHRI:     I filed a net worth underwrote

21   affidavit on file, your Honor, in the State Court case.

22              THE COURT:    I know.   And I required you, as part of

23   my order, to bring the information to prove its validity.           I

24   required you to bring that today.

25              MR. CHOUDHRI:     I’m sorry, your Honor.     I was not
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page14
                                                            14of
                                                               of44
                                                                  44
                                                                         11


1    aware of that.    But I can provide that to your Honor if your

2    Honor would allow me to ——

3               THE COURT:    So here’s the order.

4         (Pause in the proceeding.)

5               THE COURT:    “As part of the determination

6               as to whether an emergency exists, Choudhri

7               must prove the validity of his net worth

8               affidavit referenced in the July 10th order

9               issued by the State District Court.”

10              It was clear in my order.      It’s part of the emergency

11   consideration issue.

12              MR. CHOUDHRI:     The order has been filed online, your

13   Honor.   I cannot ——

14              THE COURT:    It’s not the order, it is the back-up to

15   prove it’s valid.

16              MR. CHOUDHRI:     The —— the net worth order.      So, your

17   Honor, if I may respond, please.

18              THE COURT:    I want to know whether you have the

19   information today, the evidence today, to prove the validity of

20   your July 10th affidavit.

21              MR. CHOUDHRI:     Yes, your Honor.    I —— I ——

22              THE COURT:    Okay.

23              MR. CHOUDHRI:     I can prove that validity.      And I can

24   put on the evidence to —— to demonstrate my net worth.            And ——

25   and I’m not ——
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page15
                                                            15of
                                                               of44
                                                                  44
                                                                        12


1               THE COURT:    Okay.

2               MR. CHOUDHRI:     Your —— your Honor, if I may just

3    respond.

4               So, your Honor, Osama Abdullatif recruited, sponsored

5    litigation with my ex-wife.      And filed this divorce action in

6    2015, and sued multiple people.       George Lee (phonetic), my mom,

7    (indiscernible) Serena (phonetic) Yu (phonetic), many, many

8    individuals, 32 Defendants, and filed several dozen les

9    pendenses.

10              Four years later, we went to trial.        And the Court

11   found that I was divorced as of 2012.        It was void ab initio.

12   All the les pendenses, the fraudulent liens were voided.           It

13   was sponsored litigation.

14              I have all the evidence with me, your Honor.           Number

15   two, your Honor ——

16              THE COURT:    I thought there was a final judgment

17   against you.    Is that incorrect?

18              MR. CHOUDHRI:     There is a final judgment that is

19   superseded.

20              THE COURT:    It is superseded what?      By your net worth

21   affidavit.

22              MR. CHOUDHRI:     It is superseded by my net worth

23   affidavit.

24              THE COURT:    Yeah.   But there was a final judgment.

25   And that is what ——
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page16
                                                            16of
                                                               of44
                                                                  44
                                                                       13


1               MR. CHOUDHRI:     And, your Honor, there’s a lot ——

2               THE COURT:     The underlying information that led to

3    the final judgment is pretty irrelevant.        I’m not an appellate

4    court.   There’s a final judgment against you.

5               You’ve attempted to supersede it with a net worth

6    affidavit.   I required you to bring the net worth affidavit

7    information here.

8               But why am I —— why do I care about the background of

9    a judgment that has been issued?       It’s the final judgment of

10   the State Court.

11              MR. CHOUDHRI:     No, your Honor.    We’re talking about

12   two different things.

13              THE COURT:     Okay.

14              MR. CHOUDHRI:     What I’m trying to tell your Honor, is

15   in your Court, this court, Galleria and West Loop Investments

16   was in bankruptcy.

17              THE COURT:     Right.

18              MR. CHOUDHRI:     And there was a fraudulent lien filed

19   by this man, a fraudulent lien on the 50 Briar Hollow Property.

20   And then Veritex (phonetic) foreclosed.        My understanding is

21   they foreclosed on the property.

22              Osama Abdullatif owns the claim of Ali Mokaram.

23   There’s a —— there’s an agreement where all of Mr. Funk’s fees

24   are paid by Osama.      They filed a proof of claim in the Western

25   District claiming all my entities, including my mom and Texas
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page17
                                                            17of
                                                               of44
                                                                  44
                                                                          14


1    REIT, and all these entities are all alter egos of me.            And my

2    mom is an alter ego.      And Texas REIT is an alter ego.

3                There’s —— there’s been several bankruptcy filings

4    because of this —— this tactics that they’ve —— they’ve ——

5    they —— they’ve put on me and my family and made me —— your

6    Honor, on May 31, I came, your Honor, I was in Court or on

7    the —— on the phone.

8                And on June the 2nd, I had a stroke.      He’s filed

9    fraudulent liens on all my properties.        First, he did it

10   through the fake, false pro-divorce action.

11               Finally, Greg Acosta (phonetic) was able to go to the

12   Court of Appeals and affirm the judgment.        And they’re

13   appealing it again to the Supreme Court.        They filed —— they

14   sued 32 companies, including Serena, your —— your next door

15   neighbor.

16               This is what they’ve done in the past.        And they

17   continue to do it.       George Lee ——

18               THE COURT:     Just ——

19               MR. CHOUDHRI:     George Lee ——

20               THE COURT:     I —— I recognize Serena, who is named in

21   the pleadings.    Serena Rue —— Yu was my next door neighbor

22   roughly 15 years ago.       And I haven’t spoken to her since.       I’m

23   not ——

24               MR. CHOUDHRI:     I’m —— I’m not asking you either.

25               THE COURT:     Well, I’m just telling you, there’s ——
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page18
                                                            18of
                                                               of44
                                                                  44
                                                                       15


1    it’s ——

2               MR. CHOUDHRI:     I —— I just want you to ——

3               THE COURT:    I don’t want to throw something out there

4    where people hear it and it isn’t accurate.

5               MR. CHOUDHRI:     I’m not ——

6               THE COURT:    She —— she owned 8 Bradfield Court.      I

7    own 9 Bradfield Court.     We would —— shared a fence line.       And I

8    haven’t talked to her since she moved out, which is roughly 15

9    years.    So ——

10              MR. CHOUDHRI:     Your Honor, can I ——

11              THE COURT:    Let’s move to something that we care

12   about.

13        (Pause in the proceeding.)

14              MR. CHOUDHRI: What —— what I mentioned, your Honor,

15   is Omar Khawaja, John Quinlan, and Osama Abdullatif, they

16   acquired a judgment against Jetall.       And they’re contending

17   Jetall is an alter ego of Texas REIT.        And they filed a proof

18   of claim in Judge Robinson’s court in the Western District.

19              I have the proof of claim.       They’re claiming all my

20   entities are alter ego, meaning all of the liabilities of

21   those —— that —— that Debtor is a liability of me.

22              I cannot even determine my net worth without that

23   being adjudicated about.      Because when they’re claiming that I

24   have the —— the ——

25              THE COURT:    Why can’t the State Court adjudicate the
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page19
                                                            19of
                                                               of44
                                                                  44
                                                                        16


1    judgment?

2                MR. CHOUDHRI:    They’re ——

3                THE COURT:   Let’s back up.

4                MR. CHOUDHRI:    Your —— your Honor, if I may just

5    finish.

6                THE COURT:   I may misunderstand some basic facts.

7                Isn’t there a State Court judgment against you that

8    is a final judgment that’s finished?

9                MR. CHOUDHRI:    That’s on appeal, your Honor.

10               THE COURT:   It’s on appeal.

11               MR. CHOUDHRI:    That’s the issue.

12               THE COURT:   But it’s a final judgment.

13               MR. CHOUDHRI:    Yes, sir.    It is a final ——

14               THE COURT:   And you have the right to supersede it

15   under Texas law under certain circumstances.

16               MR. CHOUDHRI:    Yes, sir.

17               THE COURT:   Okay.

18               MR. CHOUDHRI:    Yeah.

19               THE COURT:   And so the Court, as I understood it, the

20   Court that issued the judgment was going to determine whether

21   you had property superseded.         And that’s the hearing that

22   doesn’t take place because this gets removed.

23               Is that about right?

24               MR. CHOUDHRI:    Your Honor, George Lee filed a alter

25   ego lawsuit against the Debtor in the Bankruptcy ——
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page20
                                                            20of
                                                               of44
                                                                  44
                                                                       17


1                THE COURT:   Yeah.   You want to talk about that.

2    Let’s start talking about what I want to talk about.

3                Am I right that the State Court entered a final

4    judgment?

5                MR. CHOUDHRI:    The ——

6                THE COURT:   Am I right that you tried to supersede it

7    with a net worth affidavit?      Am I right that the State Court

8    scheduled a hearing on whether that was valid or not.

9                MR. CHOUDHRI:    That is all 100 percent accurate, your

10   Honor.

11               THE COURT:   Okay.

12               MR. CHOUDHRI:    The —— the Bankruptcy Court, there was

13   not a response filed to the remand when the proof of claim by

14   Osama Abdullatiff, and John Quinlan, and Omar Khawaja was

15   filed.

16               Omar Khawaja and Osama Abdullatif had made an

17   agreement with a former wife that whatever she —— they collect,

18   or she collects, they split it.       They pay all the legal fees.

19               It’s sponsored litigation.      They’ve now sued my mom.

20   They’ve —— George Lee has filed a lawsuit in the Western

21   Bankruptcy District against Texas REIT and myself, claiming I’m

22   an alter ego.

23               They filed a proof of claim in the Western Bankruptcy

24   District.    And they attempted to withdraw it.       Judge Robinson

25   would not allow them to withdraw because he was not —— he felt
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page21
                                                            21of
                                                               of44
                                                                  44
                                                                       18


1    it was suspicious.     He wasn’t sure if it was done in good

2    faith.

3               They filed les pendenses on those properties, which

4    is why all these properties have been going —— they filed

5    fraudulent liens, not even les pendenses, your Honor.

6               In the 50 Briar Hollow case, Osama’s claimed he filed

7    an affidavit of lien in the real property records saying 50

8    Briar Hollow is an alter ego of me.       And that entity —— that

9    property could not be sold.      And that entity went into

10   bankruptcy and the property was lost.

11              This is their focus.      I cannot even determine the net

12   worth without determining the allegations of alter ego.

13   Because in the Bankruptcy Court, I have to —— my mom, all these

14   other entities, I personally have to go and say these are

15   contingent liabilities.

16              Because all of the liabilities of these entities that

17   are in bankruptcy because of him.       This man has sued my father,

18   who’s passed away.     He sued my mom.    He sued my sister, who’s a

19   physician.   He’s sued her partners.

20              There’s a —— there’s a big history that if the facts

21   come out, your Honor, you will —— you’ll understand.          Just

22   recently, there is a —— there’s a order of disqualification for

23   Jackson Walker in Pillsbury, the co-counsel —— and co-counsel,

24   which is sitting right here.

25              HooverSlovacek also represented, and had a conflict
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page22
                                                            22of
                                                               of44
                                                                  44
                                                                       19


1    waiver that they’re violating right now.         Osama Abdullatif had

2    a woman —— a man working for me, a guy named Chris Wyatt

3    (phonetic) who is —— was a sponsor —— was a —— sponsored by him

4    collecting my documents as my paralegal, but really working for

5    him.   And I have evidence of that.

6               THE COURT:    So tell —— I’m missing the point.

7               Why can’t the State District Court that issued the

8    judgment decide whether the judgment is superseded or not?

9               MR. CHOUDHRI:     It —— it just cannot because there’s a

10   gateway issue about the alter ego accusation.

11              They availed themselves to the jurisdiction of the

12   Bankruptcy Court.     I did not.   I did not make the claims that

13   all my entities are alter ego.       They did.

14              So when they file the proof of claim in the

15   Bankruptcy Court in the Western District, claiming that all my

16   entities, that Texas REIT doesn’t —— that Texas REIT, LLC is in

17   bankruptcy.

18              In addition to that, Osama Abdullatif has entered

19   into a joint venture agreement with George Lee.         George Lee’s

20   filed an adversary right here, your Honor, against me and Texas

21   REIT claiming it’s an alter.       Cannot determine the net worth

22   until it is determined what —— what if the alter ego, if —— if

23   those alter ego claims.

24              They have to be first —— that —— that’s the gateway.

25   I mean, that’s the problem that they put me in this conundrum.
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page23
                                                            23of
                                                               of44
                                                                  44
                                                                        20


1    Their goal is to put me out of business.        And I’m not running

2    away from anything, your Honor.

3                I want everything to be decided in one place.         And

4    it’s already in that place that they signed under oath.           This

5    is a proof of claim, your Honor, that —— that Osama Abdullatif

6    has filed.    And this is also a, if I could hand this to, your

7    Honor.

8                THE COURT:   Yeah.   I’ll take it.

9                MR. CHOUDHRI:    This is also a notice of abstract

10   judgment.     And if you look at the signature page on there, it’s

11   signed under oath by Osama Abdullatif.

12               THE COURT:   Okay.   If you want me to read, just let

13   me read it.

14               MR. CHOUDHRI:    Yeah.

15               THE COURT:   What I’ve been handed is a notice of

16   abstracted judgment with a recordation stamp of February 15th

17   of 2020, RP 202452182, referencing Case 2012-27197A.          It’s a

18   Notice of Abstracts of Judgment.       And I’ll read it now.

19        (Court reading.)

20        (Pause in the proceeding.)

21               THE COURT:   I’ve read the Abstract of Judgment.       Now

22   what do you want me to take from that?

23               MR. CHOUDHRI:    Your Honor, if you look where it says

24   he contends that Galleria West Loop Investments is an alter ego

25   of Ali Choudri.    And he’s attached the legal description of the
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page24
                                                            24of
                                                               of44
                                                                  44
                                                                        21


1    property, 3.1 acres, which is the 50 Briar Hollow property.

2                So he fraudulently filed a lien on that property,

3    preventing that property from being sold and refinanced.           That

4    entity ended up filing bankruptcy, Galleria West Loop

5    Investments.

6                And —— and then that —— that property’s not —— not ——

7    not there anymore.       That is a recent occurrence.     There are

8    additional recent occurrences where Osama Abdullatif has

9    sued ——

10               THE COURT:    What does this ——

11               MR. CHOUDHRI:    —— South.

12               THE COURT:    This is ten months ago, sorry nine months

13   ago when we’re talking about recent.        This is nine-month-old

14   abstract.

15               MR. CHOUDHRI:    In the last —— yes, your Honor, if I

16   may.

17               THE COURT:    Uh-huh.

18               MR. CHOUDHRI:    And this helps, your Honor.

19               This is an adversary complaint.

20          (Pause in the proceeding.)

21               THE COURT:    I’ve been handed an Adversary Complaint

22   filed in Adversary Proceeding 24-01039 in the Western District

23   of Texas.    This was a filing made on July 10th of 2024.         Let me

24   read this.

25          (Court reading.)
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page25
                                                            25of
                                                               of44
                                                                  44
                                                                       22


1         (Pause in the proceeding.)

2               MR. CHOUDHRI:     And I just wanted to mention, your

3    Honor, that Serena ——

4               THE COURT:    So now tell me, where is the pleading in

5    State Court, and the other side can tell me this if they want,

6    that was the subject of the hearing that didn’t occur because

7    of the removal?

8               What —— who was that against?       Who was the named

9    Defendant.

10              MR. CHOUDHRI:     Ali Choudhri, myself, and Texas REIT.

11              THE COURT:    And who’s in bankruptcy in ——

12              MR. CHOUDHRI:     Texas REIT is in bankruptcy.

13              THE COURT:    Okay.   And are they trying to proceed

14   with a hearing against Texas REIT?

15              MR. CHOUDHRI:     That is one of —— that is ——there ——

16   in fairness, there’s two cases, your Honor.         There’s a 2012 A

17   case and a 2012 D case.

18              It’s from the 2012, which goes back to the Bealle

19   (phonetic) Bank dispute between Mr. Latif and I.          The 2012 A

20   case has just me in it.

21              THE COURT:    Okay.

22              MR. CHOUDHRI:     Individually.    And the 2012 D case has

23   me and, I believe, Dalio, and also Texas REIT is also a named

24   party in that case.

25              THE COURT:    So you’re saying Texas REIT is a
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page26
                                                            26of
                                                               of44
                                                                  44
                                                                       23


1    Defendant in the D case or not a Debtor in the D case?

2               MR. CHOUDHRI:     Yes, sir.

3               THE COURT:    Okay.   Can I see the D case, then?

4               MR. CHOUDHRI:     Yes, sir.

5               THE COURT:    Where do I see documents from the D case?

6               MR. CHOUDHRI:     It’s going to be on the Harris County

7    District ——

8               THE COURT:    Does anyone have a document here on the D

9    case?   And can we —— has the stay been lifted in the D case?

10   I’m sorry, has the stay been lifted in the Texas REIT case to

11   allow the State Court action to proceed in the D case?

12              MR. CHOUDHRI:     May —— may I hand this document to

13   your Honor?

14              THE COURT:    Yeah.

15        (Pause in the proceeding.)

16              MR. CHOUDHRI:     This is   a proof of claim in that case

17   filed by Osama Abdullatif.

18              This is a claim objection that —— that —— that I

19   filed against them where they’re claiming it’s an alter ego.

20   This is a —— an order superseding for several million dollars

21   in cash for that —— for one of the judgments they’re attempting

22   to collect that’s fully superseded.       And ——

23              THE COURT:    But I’m trying to understand right now ——

24              MR. CHOUDHRI:     Yes, your Honor.

25              THE COURT:    —— my —— my questions are simpler, which
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page27
                                                            27of
                                                               of44
                                                                  44
                                                                         24


1    is, if the Debtor is a Debtor.        And the lawsuit is against the

2    Debtor.   And there is a stay against proceeding, I don’t know

3    why we’re here at all.     That’s why I need to get a more basic

4    understanding.

5               MR. CHOUDHRI:     I believe it was something about

6    they’re a nominal party is what I heard.

7               THE COURT:     Well, I mean ——

8               MR. CHOUDHRI:     I heard somebody saying that.        So I

9    don’t know what that means.

10              THE COURT:     Okay.   Let me see some pleadings from the

11   D case to understand whether the Debtor is a Debtor.          Counsel?

12              MR. FUNK:    May —— May I, your Honor.

13              THE COURT:     Yes, sir.   Please.

14        (Pause in the proceeding.)

15              MR. FUNK:    The final judgment in the D case.

16              MS. ENGLAND:    That’s docketed at Debtor Exhibit M.

17              THE COURT:     Okay.   So the judgment in the D case.

18   Let me read it.

19        (Pause in the proceeding.)

20              THE COURT:     So it appears that, if you need this I’ll

21   hand it back to you, that the judgement does not include the

22   Debtor.   The Debtor is not a judgment Debtor; is that right?

23              MR. CHOUDHRI:     My understanding is that Texas REIT is

24   a party in that case.

25              THE COURT:     Well, we’re post judgment.
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page28
                                                            28of
                                                               of44
                                                                  44
                                                                       25


1               MR. CHOUDHRI:     Right.

2               THE COURT:    Are they a judgment Debtor?

3               MR. CHOUDHRI:     I don’t know.

4               THE COURT:    Pardon me?

5               MR. CHOUDHRI:     I —— I don’t know.     I ——

6               THE COURT:    Well, that’s the judgment.

7         (Pause in the proceeding.)

8               THE COURT:    Why don’t you go ahead and step back from

9    the podium if you would.

10              MR. CHOUDHRI:     May I —— may I hand some ——

11              THE COURT:    Why —— yeah, why don’t you go ahead and

12   take that with you and step back from the podium.

13              If they’re not a judgment Debtor, then they’re —— I

14   don’t know what the argument is.

15        (Pause in the proceeding.)

16              MR. CHOUDHRI:     Well, your Honor, my understanding is

17   that they are Khawaja Omar, Osama Abdullatif, John Quinlan, and

18   Omar Khawaja are claiming that I’m an alter ego.           And

19   technically, the Debtor is an alter ego of me.

20              And that has to be determined in the adversary that’s

21   filed in the Western District by George Lee.         And they filed a

22   proof of claim in that case, the proof of claim that’s signed

23   by Osama Abdullatif.

24              THE COURT:    That’s not the way I read the last two.

25   Let me read it again.      I read that it’s saying that you are
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page29
                                                            29of
                                                               of44
                                                                  44
                                                                          26


1    liable for their debts, not that they are liable for your

2    debts.

3               Let me read it again.

4         (Pause in the proceeding.)

5               MR. CHOUDHRI:     I have a deposition ——

6               THE COURT:    Here’s the adversary ——

7               MR. CHOUDHRI:     —— your Honor, if ——

8               THE COURT:    Here’s the adversary complaint.          I want

9    to see what the document says.        This is what you handed me.

10        (Pause in the proceeding.)

11              MR. CHOUDHRI:     Here is a proof of claim by Osama

12   Abdullatif as well, what I      handed you.

13        (Court reading.)

14        (Pause in the proceeding.)

15              THE COURT:    What is the current status of the

16   adversary proceeding?

17              MR. CHOUDHRI:     It’s pending, your Honor, in the

18   Western Southern Bankruptcy District.        There’s also a

19   hearing ——

20              THE COURT:    You said in the Western Southern

21   Bankruptcy District.

22              MR. CHOUDHRI:     Sorry.   I’m so sorry.

23              THE COURT:    That’s okay.

24              MR. CHOUDHRI:     I’m really nervous.     Sorry.

25              It’s in the Western Bankruptcy Court, Judge Jack
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page30
                                                            30of
                                                               of44
                                                                  44
                                                                       27


1    Robinson in the ——

2               THE COURT:    Okay.

3               MR. CHOUDHRI:     —— Western District.     It is pending in

4    that case, your Honor.     And the —— their proof of claim, and

5    there’s a hearing in December on the —— the proof of claim

6    where they’re alleging —— where Osama Abdullatif is alleging

7    Texas REIT’s liabilities are my liabilities.         And my

8    liabilities are Texas REIT’s liabilities, that we’re basically

9    all one.   And that meant my liabilities could be a lot —— a lot

10   more.

11              THE COURT:    So your liabilities have been liquidated

12   at this point, right?      As to the State Court case.      We know

13   what the judgment is.

14        (Pause in the proceeding.)

15              THE COURT:    What is the status of the State Court ——

16   of the bankruptcy adversary?

17              MR. BALLASES:     So, I —— I can answer that, Judge, if

18   you’d like me to come there.

19              THE COURT:    Please.

20              MR. BALLASES:     So, we originally filed, you know,

21   like we originally filed the —— Mr. Choudhri actually filed on

22   a judgment for a multi-million dollars was taken against HREP,

23   Houston Real Estate Properties, in State Court.

24              He filed a bankruptcy proceeding, which was in front

25   of Judge Norman.    As that case progressed, myself, and John
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page31
                                                            31of
                                                               of44
                                                                  44
                                                                         28


1    Quinlan, and Omar Khawaja, and Osama Abdullatif filed an

2    adversary proceeding in that case, who alleged this alter ego

3    and fraudulent transfer case.

4                One of the Defendants that we allege is an alter ego

5    of HREP is —— is Texas REIT.         Texas REIT was not in bankruptcy

6    when we filed that claim.

7                THE COURT:    Yeah.    Why don’t you answer my question.

8                MR. BALLASES:    Sure.

9                THE COURT:    What is the status of the adversary

10   proceeding filed —— Adversary Proceeding 24-1039 in the Western

11   District of Texas.       What’s its status?

12               MR. BALLASES:    So we filed a proof of claim.        We

13   learned that there are insufficient assets to pay our —— pay

14   our debt.     And so we had seeked to remove.       And Judge Robinson

15   is having a hearing on it.

16               THE COURT:    Now ——

17               MR. CHOUDHRI:    Your Honor ——

18               MR. BALLASES:    I can’t speak beyond that.

19               THE COURT:    What is the status of the adversary

20   proceeding?    It is open?    Closed?

21               MR. BALLASES:    It’s open.

22               THE COURT:    Judgment?     No Judgment.

23               MR. CHOUDHRI:    It’s open.

24               MR. BALLASES:    Yeah.    It is open.

25               THE COURT:    Okay.    So, has the stay been lifted to
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page32
                                                            32of
                                                               of44
                                                                  44
                                                                       29


1    allow you to proceed in State Court?

2               MR. BALLASES:     We are not proceeding in State Court

3    with Texas REIT.

4               THE COURT:    Has the stay been lifted to allow you to

5    proceed in State Court?

6               MR. BALLASES:     Yes.   Judge Robinson lifted the say

7    for us to proceed against Texas REIT in our adversary

8    proceeding in front of Judge Norman.

9               THE COURT:    Has the stay been lifted to allow you to

10   proceed in the State Court proceeding that is the subject of

11   the removal and the remand?

12              MR. BALLASES:     Texas REIT is not a judgment

13   (indiscernible.)

14              THE COURT:    Answer my question.     You’re —— this is

15   just as frustrating talking to you as —— as other people.

16              Has the stay been lifted by the Bankruptcy Court to

17   allow the removed State Court action to proceed in State Court?

18   Yes or no?

19        (Pause in the proceeding.)

20              MR. BALLASES:     I am unaware of that.

21              THE COURT:    Okay.

22        (Pause in the proceeding.)

23              THE COURT:    I’m granting the oral motion for a

24   continuance, because I want a more organized hearing.

25              Here are the way that I believe the facts come out.
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page33
                                                            33of
                                                               of44
                                                                  44
                                                                       30


1    But I’m not going to reach a final decision right now.

2               The adversary proceeding that I’ve been handed up,

3    and again, this is all preliminary, 24-10 —— 120 is the case

4    number.   The adversary proceeding is 24-1039, seeks to hold in

5    the Bankruptcy Court Texas REIT, which is the Debtor in the

6    Bankruptcy Court, liable for Mr. Choudhri’s personal debts.

7               If Mr. Choudhri is, in fact, liable, as is being

8    alleged in this adversary proceeding, for Texas, excuse me,

9    liable —— if Texas REIT is liable for Mr. Choudhri’s debts,

10   then a liquidation, or a collection, I should say, of —— from

11   Mr. Choudhri of the debts, will diminish his available funds to

12   pay other creditors.

13              And you don’t get to step to the front of the line.

14   The automatic stay applies.      If the automatic stay applies, you

15   can’t proceed in State Court.      And maybe there’s some other

16   result we’re going to come to after we hear a full evidentiary

17   record and a full presentation.

18              But doing this on an emergency basis when it appears

19   that you may be violating the automatic is something I’m not

20   prepared to do today.

21              MR. FUNK:    Can I address?

22              THE COURT:    Mr. Funk, go ahead.

23              MR. FUNK:    Your Honor, the same arguments were made

24   when the case was removed initially.        The motion to remand was

25   filed.    Judge Robinson considered the motion, granted the
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page34
                                                            34of
                                                               of44
                                                                  44
                                                                         31


1    motion, sent it back down.        Judge ——

2               THE COURT:    He can send it back down.      That doesn’t

3    lift the stay.

4               MR. FUNK:    That’s right.    Exactly.

5               THE COURT:    If the stay is in place, there isn’t an

6    emergency at all, because there’s a stay.         And I can remand it,

7    but you can’t proceed.

8               And the question that I said it to everybody I was

9    going to do in my order.      The first thing I’m going to do is

10   figure out do we have an emergency?          And if there’s a stay, we

11   don’t have a emergency, because nothing can happen.

12              MR. FUNK:    Please.

13              THE COURT:    Go ahead.

14              MR. FUNK:    Indulge me, your Honor.

15              I —— I —— let me get to the part.        After that, a

16   motion to reconsider the decision was filed.

17              THE COURT:    Right.

18              MR. FUNK:    All of these arguments including the alter

19   ego and the application of the stay, were made by Mr. Choudhri

20   to Judge Robinson.

21              He ruled on those arguments, including the alter ego

22   arguments.   And again denied the motion to reconsider.           I’ve

23   got the —— the order is under Cause Number 24-1047.          It’s

24   Docket 36.

25              And pages three and four ——
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page35
                                                            35of
                                                               of44
                                                                  44
                                                                       32


1                THE COURT:     Has it been —— has it been filed as an

2    exhibit for this hearing?

3                MR. FUNK:    It —— it was just referenced, your Honor,

4    because we asked you to take judicial notice of it.          I don’t

5    think it was filed, was it?

6                MS. ENGLAND:     No, it was not —— it’s not appended.

7    It was ——

8                THE COURT:     Can I see it?

9                MS. ENGLAND:     —— tied in footnote seven.

10               THE COURT:     Can I see it?

11               MS. ENGLAND:     I don’t have a printed copy.     I’ve got

12   it on my laptop.

13               THE COURT:     I’ll look at it on your laptop.

14               MR. CHOUDHRI:     Your Honor, may I respond?     There

15   again, I don’t want to ——

16               THE COURT:     Sure.

17               MR. CHOUDHRI:     —— conflate the issue, right?

18               In June —— in June, Osama Abdullatif filed a proof of

19   claim in the Western District.       There was a claim objection

20   made.

21               Mr. Ballasses and Osama Abdul attempted to withdraw

22   that.   Judge Robinson said no.      At that point in time, the

23   State Court case before this George Lee and the new case was

24   filed, the —— the case was removed from the State Court.

25               Osama Abdullatif, and George Lee, and Serena Yu are
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page36
                                                            36of
                                                               of44
                                                                  44
                                                                        33


1    working together.     I have the evidence of that.        That adversary

2    was filed.    The judge did not —— there was no response to

3    the —— to the motion to remand.

4                There was no response because had it ——

5                THE COURT:     Yeah.

6                MR. CHOUDHRI:     —— there was no lawyer who was

7    licensed in the Western District, didn’t file a response to the

8    remand.

9                THE COURT:     So ——

10               MR. CHOUDHRI:     That was limited to ——

11               THE COURT:     So ——

12               MR. CHOUDHRI:     —— the proof of claim.

13               THE COURT:     Is there a reason why you don’t want ——

14               MR. CHOUDHRI:     Not ——

15               THE COURT:     —— me to see the transcript or the

16   findings?     That’s what I’d like to do.

17               MR. CHOUDHRI:     No, sir.    No.   I —— I —— I just wanted

18   to mention.

19               THE COURT:     See what the judge said.

20               So go ahead and plug it into the ——

21               MS. ENGLAND:     May I approach?

22               THE COURT:     There’s a —— no.     I’m want you —— I’m not

23   going to touch your computer.          Plug it in or ——

24               MS. ENGLAND:     I’m sorry.    It’s not plugged in.

25               THE COURT:     —— dial in to GoToMeeting, one or the
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page37
                                                            37of
                                                               of44
                                                                  44
                                                                       34


1    other.

2         (Pause in the proceeding.)

3               MR. BALLASES:     The specifics ——

4               THE COURT:     Let’s wait.   I want to see what you told

5    me I was going to see.

6               MR. BALLASES:     But not, I —— I can ——

7               THE COURT:     Have a seat everyone.     Everyone have a

8    seat.

9         (Pause in the proceeding.)

10              THE COURT:     Everyone have a seat.

11        (Pause in the proceeding.)

12              MS. ENGLAND:     I’m plugged into the USB.      Is there

13   another cable?

14              THE COURT:     It’s not a USB.    It is a, I forgot the

15   name of those cable.

16              MR. BALLASES:     HDMI.

17              THE COURT:     HDMI cable.   Yeah.

18        (Voices speaking off the record.)

19              THE COURT:     It should be in the front.      Look in the

20   front door for an HDMI cable.

21              MR. FUNK:    While she’s doing that, (indiscernible) a

22   copy of the order?

23              THE COURT:     No.   I’m not going to do anything else.

24              MR. FUNK:    Okay.

25              THE COURT:     I want to do these in a way that I can
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page38
                                                            38of
                                                               of44
                                                                  44
                                                                       35


1    understand them.

2         (Pause in the proceeding.)

3               THE COURT:     Okay.   So what is your deal with the

4    automatic stay in the November 8th, 2024 order?

5         (Pause in the proceeding.)

6               MS. ENGLAND:    Your Honor, it —— this order does not

7    specifically identify either lift stay or automatic stay.         It

8    addresses the alter ego argument the Mr. Choudhri is raising.

9         (Pause in the proceeding.)

10              THE COURT:     Okay.   Let me see that.    I’ll look at

11   that.   But I want to know about the automatic stay.

12              MS. ENGLAND:    I’m scrolling to page three.

13        (Pause in the proceeding.)

14              MS. ENGLAND:    And beginning in the paragraph ——

15              THE COURT:     Okay.

16              MS. ENGLAND:    —— “The motion to vacate.”

17        (Court reading.)

18        (Pause in the proceeding.)

19              THE COURT:     Okay.   Keep scrolling.

20        (Court reading.)

21        (Pause in the proceeding.)

22              THE COURT:     Okay.

23        (Court reading.)

24        (Pause in the proceeding.)

25              THE COURT:     Keep going.
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page39
                                                            39of
                                                               of44
                                                                  44
                                                                       36


1         (Court reading.)

2         (Pause in the proceeding.)

3               THE COURT:    Keep going.

4         (Court reading.)

5         (Pause in the proceeding.)

6               THE COURT:    I agree with the fact that they were a

7    named party.    Doesn’t matter if we’re post-judgment and they’re

8    not name in the judgment.

9               My concern is, there is a live alter ego claim

10   brought in the Bankruptcy Court that alleges that Texas REIT

11   isn’t liable for Mr. Choudhri’s debts.

12              It’s my belief that if we remand this case, and maybe

13   we should, that the automatic stay would stop you from

14   proceeding in the case as a result of that.

15        (Pause in the proceeding.)

16              THE COURT:    I may be wrong about that.       I’m willing

17   to have that dealt with and briefed.        But I’m not willing to

18   rule on an emergency basis when it appears to me that remanding

19   the case would result in the State Court having jurisdiction

20   over the case, subject to an automatic stay.

21              I do not see at this point anyone alleging that the

22   Bankruptcy Court has, in fact, found the automatic stay doesn’t

23   apply.   I, therefore, don’t think there’s an emergency, which

24   is what I said I was going to take up first.

25              So —— and if people want to respond to that, go
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page40
                                                            40of
                                                               of44
                                                                  44
                                                                        37


1    ahead.   But I’m inclined to grant a short continuance so that

2    we can understand better what is going on.

3               MR. BALLASES:     So, Judge, just so I’m clear, cause

4    I’m not on one issue.      Are —— are you referring to the

5    adversary proceeding in the Southern District?         Or the

6    adversary proceeding in the Western District?

7               THE COURT:    Adversary proceeding in the Texas REIT

8    case filed in the Western District Texas specifically asks,

9    this is Mr. Lee, who was the Plaintiff, asks the Western

10   District Bankruptcy Court quote,

11              “To hold that Debtor, that is Texas REIT,

12              is the —— is the ego of Choudhri for the

13              purposes of enforcement of a judgment

14              against Choudri and in support, thereof,

15              would respectfully show as follows.”

16              So if Texas REIT is liable for Mr. Choudhri’s debts,

17   then the distribution of his assets to one group of creditors

18   to the disadvantage to other groups of creditors, would be a

19   violation of the automatic stay in the Texas REIT case.

20   Because it’s liable for his debts.

21        (Pause in the proceeding.)

22              THE COURT:    So the stay probably applies.       I’m

23   willing to have it briefed that it doesn’t.         I’m not willing to

24   decide on what amounts to two days’ or three days’ notice a

25   really complicated alter ego question that controls whether
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page41
                                                            41of
                                                               of44
                                                                  44
                                                                       38


1    this is an emergency.

2               That’s my worry.      So, I am going to hear this

3    quickly.   If your lawyer is in —— and I have no reason

4    realistically to think he’s in the hospital.         He certainly

5    didn’t tell me that was a possibility in her emergency motion.

6               It’s certainly a possibility when anybody gets

7    hospitalized.    If your lawyer is incapacitated, I think he’s

8    fairly new on this case.

9               How long’s it going to take you to get alternate

10   representation?

11        (Pause in the proceeding.)

12              MR. CHOUDHRI:     Your Honor, he’s been working on this

13   for a few weeks.    I don’t know I can give you an answer

14   relatively quickly once I reach out and find out.

15              THE COURT:    Okay.

16              MR. CHOUDHRI:     There’s another entity, your Honor,

17   that’s also in bankruptcy that they’ve claimed as an alter ego.

18   But I’ll just stop talking to you.

19              THE COURT:    You really want to make more argument

20   right now?

21              MR. CHOUDHRI:     No, sir.   I’ll stop right not.

22              THE COURT:    I think that’s a prudent move.

23              December 2nd, 9 in the morning, we’re going to have a

24   hearing on the motion to remand.

25              MR. CHOUDHRI:     Your Honor, on December the 2nd
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page42
                                                            42of
                                                               of44
                                                                  44
                                                                       39


1    there’s a hearing on the claim objection for the proof of claim

2    that —— that they filed in Judge Robinson’s court.          I believe

3    it’s December 2nd, schedule.

4               MR. BALLASES:     I don’t believe that’s correct.

5               THE COURT:    Let’s check.

6               MR. CHOUDHRI:     Is it —— is it December the 2nd?     Am I

7    wrong?

8               Yes, your Honor.      The Court has their setting for

9    December the 2nd.

10              THE COURT:    December 2?

11              MR. CHOUDHRI:     December the 2nd.    Yes, your Honor.

12   Case Number 24-10120, which is —— there is a —— there is a

13   setting in that.

14              MR. BALLASES:     So, no.   There is a hearing at either

15   1:30 or 2:00 for Texas REIT to amended motion to sell property

16   free and clear of liens.      There’s nothing to do with us.      But

17   that’s at 1:30 or 2:00.

18              MR. CHOUDHRI:     But you’re objecting to that sale from

19   going forward.

20              MR. BALLASES:     I —— I ——

21              MR. CHOUDHRI:     You filed an objection to that sale.

22              MR. BALLASES:     I understand.    We just —— we’re fine

23   with this hearing taking place in the morning.

24              THE COURT:    Yeah.   Is that a video hearing or is that

25   a personal hearing?
                        TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page43
                                                            43of
                                                               of44
                                                                  44
                                                                        40


1               MR. BALLASES:     That is a Zoom hearing.

2               THE COURT:    It’s a Zoom hearing.      Great.

3               MR. BALLASES:     Yes, sir.

4               THE COURT:    We’ll start a nine o’clock.        Nine o’clock

5    December second, we’ll have your motion to remand.

6               MR. BALLASES:     That’s fine.    And just to add one more

7    ting so it’s clear on the record.        So the George Lee lawsuit

8    has nothing to do with myself, my clients, or my co-counsel’s

9    client.

10              THE COURT:    I don’t know if that matters.

11              MR. BALLASES:     Yeah.

12              THE COURT:    If —— we —— we need to worry about

13   whether there’s an alter ego, non-frivolous allegation that

14   might mean that the stay is involved.

15              MR. BALLASES:     Right.   And —— and, of course, the

16   judge —— the two judgments we’re here about having nothing to

17   do with Texas REIT.

18              THE COURT:    Well, we don’t know that.

19              Because if Texas REIT is liable for his debts, then

20   they may have a hell of a lot to do with Texas REIT.          So you

21   all can brief it.     Briefing is due not later that November

22   27th, which is two weeks from today on whether or not the

23   automatic stay applies in State Court.

24              And any further briefing on the remand that you all

25   wish to file is due on the 27th.      I’m going to decide the
                       TRINITY TRANSCRIPTION SERVICES
Case
Case23-34815
     23-34815 Document
              Document892-11
                       826-5 Filed
                       848-5 FiledininTXSB
                                      TXSBon
                                           on12/04/24
                                             11/20/24
                                              12/10/24 Page
                                                       Page44
                                                            44of
                                                               of44
                                                                  44
                                                                          41


1    remand question before we decide whether to transfer the case

2    over to the Western District.

3                 So we will not take up the transfer motion until

4    after we decide remand.

5                 You all have a good Thanksgiving.          We’ll see you all

6    on the 2nd at 9 o’clock.         Thank you.

7                 MR. CHOUDHRI:      Thank you, Judge.

8                 THE COURT:       Thank you.

9         (This proceeding was adjourned at 03:57 p.m.)

10

11                                 * * * * * * * * * *

12

13                                    CERTIFICATION

14   I certify that the foregoing is a correct transcript from the

15   electronic sound recording of the proceedings in the above-

16   entitled matter.

17        /s/Cheryl L. Battaglia                      November 20, 2024

18        Transcriber                                 Date

19   4:24-CV-3224

20   11/13/2024 - 11/20/24




                            TRINITY TRANSCRIPTION SERVICES
